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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

TENIA GOSHAY, PERSONAL REPRESENTATIVE
OF THE ESTATE OF CORNELIUS FREDERICK,
DECEASED,

            Plaintiff,                         Case No. 1:21:-cv-00848
v.                                             Hon. Robert J. Jonker

LAKESIDE FOR CHILDREN d/b/a LAKESIDE
ACADEMY; LAKESIDE ACADEMY; SEQUEL
YOUTH SERVICES OF MICHIGAN, LLC;
SEQUEL TSI HOLDINGS, LLC; SEQUEL YOUTH
AND FAMILY SERVICES, LLC; SEQUEL ACADEMY
HOLDINGS, LLC; SEQUEL YOUTH SERVICES, LLC;
COLE HODGE (DEFENDANT #1); ZACHARY SOLIAS
(DEFENDANT #2); MICHAEL MOSLEY (DEFENDANT #3);
ORLANDO LITTLE, JR. (DEFENDANT #4); COADY RIES
(DEFENDANT #5); MAURICE DAVIS (DEFENDANT #6);
JA’SHON CHEEKS (DEFENDANT #7); BRANDON REYNOLDS
(DEFENDANT #8); HEATHER MCLOGAN (DEFENDANT #9);
and BRADLEY HODGE (DEFENDANT #10)

            Defendants.

GEOFFREY N. FIEGER (P30441)         TODD A. MCCONAGHY (P55675)
FIEGER, FIEGER, KENNEY &            LEE C. PATTON (P26025)
HARRINGTON P.C.                     RONALD S. LEDERMAN (P38199)
Attorney for Plaintiff              SULLIVAN, WARD, PATTON, GLEESON &
19390 West Ten Mile Road            FELTY, PC
Southfield, MI 48075                Attorneys for Defendants Cole Hodge,
(248) 355-5555                      Orlando Little, Jr., Coady Ries, Maurice
g.fieger@fiegerlaw.com              Davis, Ja’shon Cheeks, Brandon
                                    Reynolds, and Bradley Hodge
                                    400 Galleria Officentre, Ste. 500
                                    Southfield, MI 48034
                                    (248) 746-0700 – 248-746-2793 (fax)
                                    tmcconaghy@sullivanwardlaw.com
                                    lpatton@sullivanwardlaw.com
                                    rlederman@sullivanwardlaw.com
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MARKO LAW, PLLC                    Kerr, Russell & Weber, PLC
Attorney for Plaintiff             Attorney for Lakeside for Children
300 Broadway Street                d/b/a Lakeside Academy; Lakeside
Fifth Floor                        Academy; Sequel Youth Services of
Detroit, MI 48226                  Michigan, LLC; Sequel TSI Holdings,
(313) 777-7529;                    LLC; Sequel Youth and Family
Fax (313) 771-5785                 Services, LLC; Sequel Academy
jon@markolaw.com                   Holdings, LLC; Sequel Youth
                                   Services, LLC
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CORBET SHAW ESSAD &                RUTLEDGE MANION RABAUT
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steven.bonasso@cseb-law.com        aschlott@rmrtt.com


                        ANSWER TO COMPLAINT

      NOW COME Defendants, COLE HODGE, ORLANDO LITTLE, JR.,

COADY RIES, MAURICE DAVIS, JA’SHON CHEEKS, BRANDON

REYNOLDS, and BRADLEY HODGE, by and through their Attorneys,

SULLIVAN, WARD, PATTON, GLEESON & FELTY, PC, and in Answer to Plaintiff’s

Complaint, state:
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                       JURISDICTION AND PARTIES

      1.    Denied in the manner and form alleged for the reason that the

allegations constitute conclusions of law and leave the Plaintiff to her

proofs.

      2.    Denied in the manner and form alleged for the reason that the

allegations constitute conclusions of law and leave the Plaintiff to her

proofs.

      3.    Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      4.    The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      5.    Denied in the manner and form alleged for the reason that the

allegations constitute conclusions of law and leave the Plaintiff to her

proofs.

      6.    The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      7.    The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.




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      8.    The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      9.    The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      10.   The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      11.   The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      12.   The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      13.   Denied in its entirety for the reason that the allegations are

untrue.

      14.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      15.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.




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      16.   Denied in its entirety for the reason that the allegations are

untrue.

      17.   Denied in its entirety for the reason that the allegations are

untrue.

      18.   Denied in its entirety for the reason that the allegations are

untrue.

      19.   Denied in its entirety for the reason that the allegations are

untrue.

      20.   Denied in its entirety for the reason that the allegations are

untrue.

      21.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      22.   Denied in its entirety for the reason that the allegations are

untrue.

      23.   Denied in its entirety for the reason that the allegations are

untrue.




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                                     FACTS

      24.   Defendants herein repeat answers to each and every allegation

contained in Paragraphs 1 through 23 of Plaintiff’s Complaint as though set

forth herein at length.

      25.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      26.   The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      27.   The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      28.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      29.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.




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      30.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      31.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      32.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      33.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      34.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.




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      35.   The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      36.   The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      37.   The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      38.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      39.   Denied in its entirety for the reason that the allegations are

untrue.

      40.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      41.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.




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      42.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      43.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      44.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      45.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      46.   The Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations.

      47.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,




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Defendants offer no answer in that the allegations relate to another

Defendant only.

      48.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      49.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      50.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      51.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      52.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,




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Defendants offer no answer in that the allegations relate to another

Defendant only.

      53.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      54.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      55.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      56.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      57.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,




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Defendants offer no answer in that the allegations relate to another

Defendant only.

      58.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      59.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      60.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      61.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      62.   (Including subparagraphs a-f)      The Defendants admit that

certain duties were owed to the Plaintiff’s Decedent.         However, the

Defendants deny that the allegations within the said Paragraph are a

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proper statement of the law, furthermore, the Defendants deny breaching

any duties owed to the Plaintiff’s Decedent.

      63.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      64.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      65.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

                           COUNT I
        MONELL CLAIM AS TO THE CORPORATE DEFENDANTS

      66.   Defendants herein repeat answers to each and every allegation

contained in Paragraphs 1 through 65 of Plaintiff’s Complaint as though set

forth herein at length.

      67.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,


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Defendants offer no answer in that the allegations relate to another

Defendant only.

      68.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      69.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      70.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      71.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      72.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,




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Defendants offer no answer in that the allegations relate to another

Defendant only.

      73.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      74.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

                               COUNT II
            43 USC § 19083 INDIVIDUAL VIOLATIONS OF THE
             EIGHTH AND/OR FOURTEENTH AMENDMENTS

      75.   Defendants herein repeat answers to each and every allegation

contained in Paragraphs 1 through 74 of Plaintiff’s Complaint as though set

forth herein at length.

      76.   The Defendants admit that certain duties were owed to the

Plaintiff’s Decedent. However, the Defendants deny that the allegations

within the said Paragraph are a proper statement of the law, furthermore,

the Defendants deny breaching any duties owed to the Plaintiff’s Decedent.

      77.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

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Defendants offer no answer in that the allegations relate to another

Defendant only.

      78.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      79.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      80.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      81.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      82.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,




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Defendants offer no answer in that the allegations relate to another

Defendant only.

      83.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      84.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      85.   (Including subparagraphs a-o)       Denied as to the allegations

relating to these Defendants for the reason that the same are untrue. As to

the balance of the allegations, Defendants offer no answer in that the

allegations relate to another Defendant only.

      86.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,

Defendants offer no answer in that the allegations relate to another

Defendant only.

      87.   Denied as to the allegations relating to these Defendants for the

reason that the same are untrue. As to the balance of the allegations,




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Defendants offer no answer in that the allegations relate to another

Defendant only.

      WHEREFORE, Defendants herein pray that this Honorable Court

enter its judgment of no cause for action in favor of these Defendants and

allow them all reasonable Court costs and attorney fees incurred in defense

of Plaintiff’s Complaint.

                            FURTHER ANSWER

      Further answering Plaintiff’s Complaint in each and every section, the

Defendants aver they were guided by all of their legal duties and

obligations imposed by operation of law and otherwise, and all of their

actions were careful, prudent, proper and lawful.

      Further answering said Complaint, these Defendants aver that the

Plaintiff’s Complaint on its face is improper in form; that it is inadequate,

insufficient and defective in that it pleads only conclusion; that it fails to

contain the required allegations necessary to state a cause of action, either

as a matter of fact or as a matter of law, and accordingly should be

stricken. Defendants give notice that a Motion for Summary Disposition will

be brought on for hearing before the judge of this Court to whom this case

shall be regularly assigned to hear such motions at a time to be provided

hereafter.




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                   DEMAND FOR BILL OF PARTICULARS

        These Defendants demand an itemized Bill of Particulars setting forth

specifically and in detail, each and every item of loss, damage and expense

claimed and relied upon by the Plaintiff together with the nature and

amount of such item(s), and the person(s) to whom such amount(s) have

been paid or indebtedness exist(s); these Defendants hereby give notice

that upon failure of Plaintiff to timely furnish same, these Defendants will

request to have this case dismissed because of such failure.

                                    Respectfully submitted,

                                     SULLIVAN, WARD, PATTON,
                                      GLEESON & FELTY, P.C.

                               By: /s/ Todd A. McConaghy
                                   TODD A. MCCONAGHY (P55675)
                                   LEE C. PATTON (P26025)
                                   RONALD S. LEDERMAN (P38199)
                                   Attorneys for Defendants Cole Hodge,
                                   Orlando Little, Jr., Coady Ries, Maurice
                                   Davis,    Ja’shon      Cheeks,    Brandon
                                   Reynolds, and Bradley Hodge
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                                   Southfield, MI 48034
                                   (248) 746-0700
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                                   lpatton@sullivanwardlaw.com
Dated: December 2, 2021            rlederman@sullivanwardlaw.com
W2534935.DOCX




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                        CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing instrument was
electronically filed with the Clerk of the Court using the ECF system which
will serve a copy of same upon all parties to the above cause to each of the
attorneys of record herein at their respective addresses disclosed on the
pleadings on December 2, 2021, by:

         U.S. Mail              Hand Delivered                Other: Email
         Fax                    Overnight Courier
         Fed. Express           Other: Efile

              Signature: /s/ Denise Roulo
                       Sullivan, Ward, Patton, Gleeson & Felty, P.C.




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